Exhibit G
                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                         COUNTY DEPARTMENT, CHANCERY DIVISION

Angela Hogan and B.H.,                                         )
                                                               )
                             Plaintiffs,                       )   Case No. 21 CH 02330
           v.                                                  )   Hon. Caroline Kate Moreland
                                                               )   Judge Presiding
Amazon.com, Inc.,                                              )   Cal. 10
                                                               )
                             Defendant.                        )

                                MEMORANDUM OPINION AND ORDER
      Defendant, Amazon.com Inc. (“Amazon”) brought this motion to dismiss Plaintiffs
Angela Hogan’s and B.H.’s amended complaint (the “Complaint”), pursuant to Section 2-619.1.

     I.    Background
        The allegations in this Complaint and a companion case being heard in federal court1
subject to 740 ILCS 14/15 (b) relate to Amazon Photo services’ use and collection of Plaintiffs’
photographs and extractable biometric identifiers relating to individuals facial geometry.
Amazon does not dispute that an individual’s facial geometry derived through its facial
recognition algorithm(s) are considered a biometric identifier and biometric information under
the Biometric Information Privacy Act (“BIPA”) 740 ILCS 14/1 et seq.

        Plaintiffs allege that beginning in 2014 Amazon allowed users of its Amazon Prime
Service to upload and store their photos on Amazon controlled servers. Beginning in 2015
Amazon began developing their own facial recognition software known as Rekognition. By 2016
Rekognition was fully integrated into Amazon’s photo services. Beginning in 2017, Amazon,
through its Amazon Web Services platform began licensing its Rekognition software to third
parties including other businesses and government agencies. Rekognition was created,
programmed, and improved using the billions of photos uploaded through Amazon Photos. Thus,
Plaintiffs’ and the classes’ biometric identifiers were “obtained, stored, and analyzed” by
Rekognition.

        Plaintiffs have a two count putative class action complaint pending before this Court,
alleging that Amazon violated BIPA sections 15(a) and (c). BIPA grants an individual a private
right of action for each violation of the Act. 740 ILCS 14/20. Count I of the complaint alleges
that Amazon violated BIPA section 15 (a) by failing to make publicly available their biometric
information retention and destruction policy. Count II of the complaint alleges that Amazon
violated BIPA section 15 (c) by profiting from the use of Plaintiffs’ facial geometries in its
software products.
1
    Hogan v. Amazon.com, Inc., No. 21 C 3169 (N.D. Ill.)

                                                           1
 II.   Motion to Dismiss

        Amazon has filed a motion pursuant to section 2-619.1 of the Illinois Code of Civil
Procedure. Amazon is moving to dismiss the Complaint pursuant to 735 ILCS 5/2-615 because
Plaintiffs have failed to allege that they are an aggrieved party, or that Amazon has profited from
their biometric information. Pursuant to 735 ILCS 5/2-619 Amazon argues that they are
misnamed and it should be Amazon.com Services LLC named in the complaint since they
operate Amazon Photos. Not Amazon.com LLC. Amazon also argues that Count I should be
dismissed because there is a publicly available retention policy as to their storage of Biometric
Information.

       735 ILCS 5/2-615

         “A section 2-615 motion to dismiss challenges the legal sufficiency of the complaint.”
Yoon Ja Kim v. Jh Song, 2016 IL App (1st) 150614-B ¶ 41. Motions brought under Section 2-615
do not raise affirmative factual defenses. Id. Rather, “[a]ll well-pleaded facts and all reasonable
inferences from those facts are taken as true. Where unsupported by allegations of fact, legal and
factual conclusions may be disregarded.” Kagan v. Waldheim Cemetery Co., 2016 IL App (1st)
131274 ¶ 29. “In determining whether the allegations of the complaint are sufficient to state a
cause of action, the court views the allegations of the complaint in the light most favorable to the
plaintiff. Unless it is clearly apparent that the plaintiff could prove no set of facts that would
entitle him to relief, a complaint should not be dismissed.” Id.

       Count I

         Amazon argues that Count I of Plaintiffs’ Complaint should be dismissed pursuant to
section 2-615 because Plaintiffs are not aggrieved parties based on Plaintiffs’ alleged violation
of this section. BIPA section 15 (a) requires that:

               A private entity in possession of biometric identifiers or biometric
       information must develop a written policy, made available to the public,
       establishing a retention schedule and guidelines for permanently destroying
       biometric identifiers and biometric information when the initial purpose for
       collecting or obtaining such identifiers or information has been satisfied or within
       3 years of the individual’s last interaction with the private entity, whichever
       occurs first. Absent a valid warrant or subpoena issued by a court of competent
       jurisdiction, a private entity in possession of biometric identifiers or biometric
       information must comply with its established retention schedule and destruction
       guidelines

       These BIPA imposed requirements are duties that Amazon owes to the Plaintiffs. See Bier
v. Leanna Lakeside Property Ass'n, 305 Ill. App. 3d 45, 58-59 (2nd Dist. 1999). The damages for

                                                 2
a violation of BIPA section 15 (a)-(e) is provided by BIPA section 20 (1) which provides: “Any
person aggrieved by a violation of this Act shall have a right of action in a State circuit court . . .
against an offending party. A prevailing party may recover for each violation . . . against a
private entity that negligently violates a provision of this Act, liquidated damages of $ 1,000 or
actual damages, whichever is greater.” 740 ILCS 14/20. BIPA section 20 (2) provides a greater
penalty for intentional or reckless conduct. Id;

       A mere violation of BIPA’s requirements aggrieves a plaintiff and provides a plaintiff
with a right of action. Rosenbach v. Six Flags Entm’t. Corp., 2019 IL 123186, ¶ 33. The
Rosenbach court reasoned that

               Through the Act, our General Assembly has codified that individuals
       possess a right to privacy in and control over their biometric identifiers and
       biometric information. See Patel v. Facebook Inc., 290 F. Supp. 3d 948, 953
       (N.D. Cal. 2018). The duties imposed on private entities by section 15 of the Act
       (740 ILCS 14/15 (West 2016)) regarding the collection, retention, disclosure, and
       destruction of a person's or customer's biometric identifiers or biometric
       information define the contours of that statutory right. Accordingly, when a
       private entity fails to comply with one of section 15's requirements, that violation
       constitutes an invasion, impairment, or denial of the statutory rights of any person
       or customer whose biometric identifier or biometric information is subject to the
       breach. Consistent with the authority cited above, such a person or customer
       would clearly be "aggrieved" within the meaning of section 20 of the Act (id. §
       20) and entitled to seek recovery under that provision. No additional
       consequences need be pleaded or proved. The violation, in itself, is sufficient to
       support the individual's or customer's statutory cause of action.

           Because Plaintiffs plead that Amazon never created a compliant written retention
   schedule for the permanent deletion of their Plaintiffs’ information they have plead a
   violation of BIPA.

           Count II

            BIPA section 15 (c) states “[n]o private entity in possession of a biometric identifier
   or biometric information may sell, lease, trade, or otherwise profit from a person’s or a
   customer’s biometric identifier or biometric information.” Plaintiffs’ complaint is rife with
   allegations on how Amazon built its Rekognition Software on Plaintiffs’ biometric
   information. But the Court agrees that nothing in the pleadings indicate that the biometric
   information is being directly sold to any third party. Rekognition is, but Rekognition in and
   of itself is a set of algorithms. Plaintiffs do not plead that any of their biometric information
   is sold alongside Rekognition. The Court does not find that a set of algorithms created using
   biometric information, but not containing any biometric information itself falls under section

                                                  3
15 (c). A database is different from an algorithm. Databases generally contain actual
information. Whereas, an algorithm is derived from a set of information but does not store
the information it was derived from. The Court when making this statement chooses not to
follow Vance v. Amazon.com Inc., 534 F. Supp. 3d 1314, 1324 (W.D. Wash. 2021). Plaintiffs
must plead some facts leading to the inference that their “biometric data is itself so
incorporated into Amazon's product that by marketing the product, it is commercially
disseminating the biometric data.” Id. Therefore, the Court will dismiss Count II without
prejudice. If Plaintiffs’ can plead facts showing that Plaintiffs’ biometric information is sold
in or alongside Rekognition the Court will allow Plaintiffs to replead this count.

       735 ILCS 5/2-619

         A section 2-619 motion to dismiss “admits the legal sufficiency of the complaint and
affirms all well-pled facts and their reasonable inferences, but raises defects or other matters
either internal or external from the complaint that would defeat the cause of action.” Cohen v.
Compact Powers Sys., LLC, 382 Ill. App. 3d 104, 107 (1st Dist. 2008). A dismissal under
section 2-619 permits “the disposal of issues of law or easily proved facts early in the
litigation process.” Id. Section 2-619(a) authorizes dismissal where the claim asserted against
defendant is barred by other affirmative matter avoiding the legal effect of or defeating the
claim.” 735 ILCS 5/2-619(a)(9). Pursuant to 735 ILCS 5/2-619, Amazon argues that
Plaintiffs have named the wrong party in their Complaint.

        According to the affidavit attached to their Motion. Amazon.com Services, LLC
operates Amazon Photos. See Motion Exhibit D, Affidavit of David Henri Ray Chrisotl ¶ 3.
Plaintiffs point out that the Amazon Photos’ terms of service states “This is an agreement
between you and Amazon.com Services LLC (together with its affiliates . . .)”. See Motion
Exhibit A. Amazon states that Amazon.com Services LLC is a wholly owned subsidiary of
Amazon. See Motion Exhibit D, Affidavit of David Henri Ray Chrisotl ¶ 4. Based on
Amazon’s exhibits Plaintiffs argue that the term affiliate would create the inclusion of
Amazon.com LLC, the named Defendant, and Amazon.com Services LLC, the proposed
defendant.

        The Court finds Plaintiffs’ argument that affiliate is broad enough to cover both
Amazon and Amazon.com Services LLC persuasive. For example, Plaintiffs plead that
Rekognition is sold through Amazon Web Services, Inc. See Complaint ¶ 31. Amazon Web
Services is another wholly owned subsidiary of Amazon. See Motion Exhibit E. Based on
this the Court can infer that Plaintiffs’ biometric information could have potentially been
possessed by multiple amazon entities, i.e., both Amazon.com and Amazon.com Services
LLC to develop Rekognition. Further, the Court will allow Plaintiff to amend their complaint
to add Amazon.com Services LLC as a defendant as was requested in the briefing.



                                             4
          Lastly, Amazon argues that Count I should be dismissed because they did post a
   compliant, publicly available retention and destruction policy for Plaintiffs’ biometric
   information. See Motion Exhibit C. The Policy States:

                                             File Retention Policy

          File retention Policy for Amazon Drive, Amazon Photos, Amazon Prints, and Family
Vault.

        Amazon Drive keeps files for accounts that have an active subscription status, are within
the allotted storage quota, and are not in violation of the Terms of Use.

         Notes: We may reduce the time period for which we keep files in accounts that violate
the Amazon Drive 7 Amazon Photos Terms of Use. However, account holders are notified prior
to files being deleted

Over Quota

          Over quota means accounts that have stored more files than their subscription or grant
allows.


File Retention Policy                                   Resolution

An account that exceeds the storage quota can           Within 180 days of being in an over-quota
log in and download files, but cannot upload,           status, the account holder can upgrade the
sync, or share files.                                   storage plan or delete files.

After 180 days in an over-quota status, files are
deleted (starting with the most recent uploads)
until your account is no longer over quota.
Account holders are notified prior to file
deletion.

Abandoned

The account holder has not uploaded, downloaded, or signed in to the account in the last 2 years.


File Retention Policy                                   Resolution

The account holder will be notified by email            Customer re-activates account.
upon 18 months (547 days) of inactivity.




                                                    5
After 2 years (730 days) of inactivity, all files
will be deleted. Account holders are notified
prior to file deletion.

        Amazon also points to the terms of use for Amazon Photos which state:

                [Amazon] retain[s] image recognition data, including data about the faces,
        in the photos you store using the Services until you disable the image recognition
        features or your account’s access to the Services is terminated. If your image
        recognition features are disabled, [Amazon] will stop storing image recognition
        data for you, and [Amazon] will not tag any new photos uploaded to your
        account. See Motion Exhibit A § 1.1.

       Plaintiffs argue that the above policies do not satisfy BIPA § 15 (a) because: 1) the terms
of use do not incorporate the data retention schedule; 2) the file retention policy is silent as to the
biometric information culled from users files uploaded to Amazon Photos; and 3) the terms of
use and retention policy are silent as to when their biometric data is deleted from Rekognition.
The Court finds that all three of the arguments fail.

        Nothing in BIPA § 15 (a) indicates that the publicly available retention schedule must be
incorporated into a terms of use. Further, nothing plead in Plaintiffs’ Complaint shows how
Amazon deleting Plaintiffs’ files does not result in the deletion of their biometric information.
Lastly, the Court does not find the Plaintiffs have plead any facts or facts with reasonable
inferences that lead the Court to believe the Rekognition itself contains any individual biometric
information. Therefore, Count I will be dismissed without prejudice on this basis..

III.    Conclusion

    1. Defendant’s motion to dismiss is Granted in part and Denied in part;
    2. Count I and Count II are dismissed without prejudice;
    3. Plaintiffs have 28 days to file an Amended Complaint.




                                                Entered:
                                                               Judge Caroline Kate Moreland




                                                    6
